 Case:18-05288-EAG11 Doc#:225 Filed:07/10/19 Entered:07/10/19 10:53:39     Desc: Main
                             Document Page 1 of 1


 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                 CASE NO. 18-05288-EAG11
 4    SKYTEC INC                            Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor                     FILED & ENTERED ON JUL/10/2019
 8

 9                                          ORDER

10        The joint motion filed by Debtor and Creditor, Logistic Systems, Inc

11   requesting modification of pretrial order (docket #222) is hereby granted.

12        IT IS SO ORDERED.

13        In Ponce, Puerto Rico, this 10 day of July, 2019.

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